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16
                       IN THE UNITED STATES DISTRICT COURT
17                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                SOUTHERN DIVISION
18
        MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
19      a Delaware corporation; and            )
        CERCACOR LABORATORIES, INC.,           ) SECOND NOTICE OF MASIMO’S
20      a Delaware corporation                 ) PROPOSED SPECIAL MASTER
                                               ) CANDIDATES AND OBJECTIONS
21                  Plaintiffs,                ) TO APPLE’S PROPOSED
                                               ) CANDIDATES
22            v.                               )
                                               )
23      APPLE INC., a California corporation   )
                                               ) Hon. James V. Selna
24                  Defendant.                 )
                                               )
25                                             )
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1            Plaintiffs Masimo Corp. and Cercacor Labs., Inc. (“Masimo”) identify the
2      following special master candidates: (1) Peter McAndrews (B.S. E.E.), Shareholder
3      at McAndrews, Held & Malloy; and (2) Michael Hawes (B.S. E.E.), Partner at Baker
4      Botts. See Exs. A-B. Both are nationally recognized patent litigators at prominent
5      intellectual property firms with electrical engineering backgrounds. Thus, both are
6      eminently qualified to address the specific issues to be decided by the special master.
7            Apple objects to Mr. McAndrews because he represents Verizon in a case where
8      Verizon has engaged Dr. Vijay Madisetti, Masimo’s expert in this case. However, that
9      Verizon case does not involve Apple. Thus, that engagement does not render Mr.
10     McAndrews unfit to serve as a special master here. Moreover, the limited appointment
11     here concerns only whether the parties satisfied their disclosure requirements in
12     contentions, not in expert reports.
13           Masimo objects to the two candidates proposed by Apple.
14           Karl Bayer: DocketNavigator shows Mr. Bayer has been counsel of record in
15     only one patent case. Further, Mr. Bayer’s website shows he obtained his degrees more
16     than fifty years ago and has not had any engineering experience since at least 1976.
17     Ex. C. Moreover, his legal background is not focused on intellectual property at all
18     until becoming a special master. And as a special master, Mr. Bayer’s CV shows that
19     he has previously worked on at least two cases involving Apple. Ex. D.
20           Peter Vogel:      Mr. Vogel lacks an electrical engineering degree.        Ex. E.
21     Mr. Vogel has a bachelor’s degree in business administration and a master’s degree in
22     computer science. He is thus unsuitable to decide the electrical engineering-related
23     questions at issue. Further, Mr. Vogel has been counsel of record in only thirteen cases.
24     Moreover, Mr. Vogel’s website does not provide a list of the cases he has worked on
25     during his career as a special master, so Masimo is unable to determine whether he has
26     previously worked on cases involving Apple.
27           The backgrounds of Messrs. Bayer and Vogel show they lack a well-rounded and
28     balanced experience litigating patent disputes, in contrast with Masimo’s candidates.

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1      Further, all four of Apple’s proposed candidates have been from the Eastern or Western
2      Districts of Texas. That Apple keeps selecting unqualified candidates suggests Apple
3      is more interested in delaying Masimo’s patent case than resolving the discovery issues
4      to be decided by the special master.
5
6                                               Respectfully submitted,
7                                               KNOBBE, MARTENS, OLSON & BEAR, LLP
8
9      Dated: July 29, 2024                     By: /s/ Adam B. Powell
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